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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

District of Columbia

 

United States of America Case: 1:21-mj-00481
SHANE JASON WOODS ) Assigned To : Meriweather, Robin M.
AKA: SHANE CASTLEMAN ) Assign. Date : 6/21/2021
DOB: Description: Complaint w/ Arrest Warrant
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of January 6, 2021 in the county of in the
District of Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 111(a)(1) (Assault on a Law Enforcement Officer)
18 U.S.C. § 113(a)(4) (Assault in Special Maritime and Territorial Jurisdiction)
18 U.S.C. § 231(a)(3) (Obstruct, Impede, or Interfere with Law Enforcement During Civil Disorder)
18 U.S.C. § 1752(a)(1) (Restricted Building or Grounds)
18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restrict Building or Grounds)
18 U.S.C. §§ 1752(a)(4) (Engaging in Act of Physical Violence in Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D) (Violent Entry or Disorderly Conduct)
40 U.S.C. §§ 5104(e)(2)(F) (Act of Physical Violence on Grounds)

This criminal complaint is based on these facts:

See attached affidavit.

1 Continued on the attached sheet.

 

4 Leomplainank's plgntture

Christian Roccia, FBI Special Agent
Printed name and title

Sworn to before me and signed in my presence. .
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Date: 06/21/2021

 

 

Judge’s signature

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge
Printed name and title
